This is an appeal from a finding and award of a workmen's compensation commissioner. The defendant moves to erase the appeal on the ground that the appeal was not taken within ten days after entry of the finding and award by the commissioner, as required by General Statutes, Cum. Sup. 1935, § 1614c. *Page 34 
The statutory requirement has been construed to mean that an appeal must be taken within ten days after notice to the appellant of the entry of the finding and award. Murphy v.Elms Hotel, 104 Conn. 351, 352. The objection sought to be raised by the defendant involves the determination of a question of fact. A plea in abatement and not a motion to erase was the appropriate remedy to which the defendant should have resorted to present the question. Id., p. 354.
   The motion to erase is denied.